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 1
                                   UNITED STATES DISTRICT COURT
 2
                                NORTHERN DISTRICT OF CALIFORNIA
 3

 4   IN RE: JUUL LABS, INC.
     ANTITRUST LITIGATION
 5                                                          Case No. 3:20-CV-02345-WHO

 6 This Document Relates to:

 7 ALL DIRECT PURCHASER ACTIONS

 8

 9                             DECLARATION OF EADON JACOBS
                         IN SUPPORT OF REPLY IN SUPPORT OF MOTION
10                  TO COMPEL ARBITRATION OR STRIKE CLASS ALLEGATIONS
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     I, Eadon Jacobs, declare as follows:
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               1.     I am Senior Director of Product, Identity Verification & Ecommerce at Juul Labs,
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     Inc. (“JLI”). I have held that position since July 2020, and I have worked at JLI since November
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     2017. I have personal knowledge of the matters stated below based on my review of the records
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     of JLI.
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               2.     I previously submitted a declaration in this matter on January 15, 2021, in support
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     of JLI’s Motion to Compel Arbitration or Strike Class Allegations (my “First Declaration”). In
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     my First Declaration, among other documents, I submitted printouts of JLI’s website,
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     www.juul.com, as it existed on various dates relevant to the ecommerce transactions conducted by
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     the named plaintiffs in this case. As I stated in that declaration, the website printouts I submitted
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     were accurate as of the dates specified in my declaration based on my review of JLI’s internal
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     business records.
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               3.     I have reviewed the Direct Purchaser Plaintiffs’ Opposition To Defendant Juul
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     Labs, Inc.’s Motion to Compel Arbitration Or Alternatively Strike Class Allegations and
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     declarations of Anthony Martinez, Mallory Flannery, and Jessica McGee. Plaintiff Anthony
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     Martinez questions whether JLI’s Website featured a “checkbox” next to the phrase “By
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     registering with JUUL Labs, Inc., you agree to our Terms and Conditions and Privacy Policy” on
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 1 the date that he created his account, August 26, 2018. In support of my First Declaration, I

 2 reviewed historical records kept in the ordinary course of JLI’s business regarding modifications

 3 to its website and confirmed that, as of the date Mr. Martinez created his account, the “checkbox”

 4 was a feature of the Sign Up page of JLI’s website.

 5          4.      More specifically, JLI uses GitHub, an industry-standard tool for software

 6 development to maintain robust version control of its website’s code. In order to make a change

 7 to the JLI website’s code (and thus to the website), a JLI engineer has to submit what is known as

 8 a “Pull Request,” which shows the proposed changes to the current html code in one column (on

 9 the left) and the proposed html code as it will be if the changes are accepted (on the right). Once

10 approved, the proposed changes are made. Approved Pull Requests are stored by GitHub in order

11 to create a record of changes to the html code.

12          5.      At my direction, JLI engineers retrieved and printed the August 9, 2018 Pull

13 Request that resulted in the addition of the checkbox feature to JLI’s website, attached hereto as

14 Exhibit 13. The Pull Request is titled “Anil/signup checkbox requirement #1353.” Excerpts of

15 the August 9 Pull Request show that, on August 9, 2018, JLI changed its website html code so that

16 users accessing its website from the United States would have seen the checkbox described above.

17 For example:

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 1          6.      This is the code that implemented the change to JLI’s website on August 9, 2018

 2 inserting the “checkbox” requirement. After August 9, 2018 – including on August 26, 2018

 3 when Plaintiff Martinez created his account – all users accessing JLI’s website from the United

 4 States were required to check the box to acknowledge JLI’s Terms and Conditions and Privacy

 5 Policy before they could sign up for an account on JLI’s website.

 6          7.      I also requested and reviewed excerpts of the version of the JLI website html code

 7 as it existed on the day Plaintiff Flannery accessed JLI’s website, February 26, 2019. That version

 8 of the html source code shows that the checkbox requirement was active on the website on that

 9 date, as depicted in Exhibit 5 to my First Declaration. Attached hereto as Exhibit 14 is an excerpt

10 of the version of the html code for the checkbox requirement as it existed on February 26, 2019.

11          8.      I also requested and reviewed excerpts of the version of the JLI website html code

12 as it existed on the day Plaintiff McGee accessed JLI’s website, July 19, 2019. That version of the

13 html code shows that the checkbox requirement was active on the website on that date, as depicted

14 in Exhibit 6 to my First Declaration. Attached hereto as Exhibit 15 is an excerpt of the version of

15 the html code for the checkbox requirement as it existed on July 19, 2019.

16          I declare under penalty of perjury that the foregoing is true and correct.

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18 Executed at San Francisco, California on March 30, 2021.
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20 __________________________________________

21 Eadon Jacobs

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